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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                    MDL No. 2924
    PRODUCTS LIABILITY                                             20-MD-2924
    LITIGATION
                                                 JUDGE ROBIN L. ROSENBERG
                                        MAGISTRATE JUDGE BRUCE E. REINHART

    ________________________________/

    THIS DOCUMENT RELATES TO: ALL CASES




       THE BRAND OTC DEFENDANTS’ RULE 12 PARTIAL MOTION TO DISMISS
      PLAINTIFFS’ SECOND AMENDED ECONOMIC LOSS CLASS COMPLAINT AS
    PREEMPTED BY FEDERAL LAW AND INCORPORATED MEMORANDUM OF LAW
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                                            INTRODUCTION

           All of Plaintiffs’ remaining claims contained in the Second Amended Consolidated

    Economic Loss Class Action Complaint (“Economic Loss Class Complaint”) against the

    Defendants that sold over-the-counter (“OTC”) Zantac (the “OTC Defendants”) are impliedly

    preempted under well-established Supreme Court and Eleventh Circuit precedent and this Court’s

    rulings. Plaintiffs have conceded that their claims in the Economic Loss Class Complaint are tied

    together by one unifying allegation: “when the [Food and Drug Administration (“FDA”)] approved

    ranitidine, it did not have full and accurate information about ranitidine because, at that time, the

    Defendants had withheld information about the dangers of ranitidine from the FDA,” including

    the risk of NDMA formation. See June 30, 2021 Order (“Order”), Dkt. 3715, at 31. Plaintiffs thus

    claim that it was the OTC Defendants’ failure to provide safety information to the FDA that

    rendered the OTC Zantac label “false and misleading.” Indeed, that is the only allegation that this

    Court found to have survived express preemption under 21 U.S.C. § 379r. Order, Dkt. 3715, at 36

    (“The Court therefore grants the Defendants’ Motion in part insofar as any OTC claim not based

    upon a false or misleading label is dismissed with prejudice as pre-empted.”).

           Although the OTC Defendants respectfully disagree with this Court’s June 30, 2021 ruling

    that claims premised on this narrow “false-and-misleading” labeling theory survive express

    preemption, that is of no moment. Straightforward application of this Court’s June 30 ruling

    demonstrates that these remaining claims against the OTC Defendants are impliedly preempted

    because they necessarily hinge upon the contention that the OTC Defendants allegedly hid

    information from the FDA about the risk of NDMA formation and, thus, deceived the agency.

    Order, Dkt. 3715, at 32; see Mink v. Smith & Nephew, Inc., 860 F.3d 1319, 1327–30 (11th Cir.

    2017). Plaintiffs further allege that, had the OTC Defendants disclosed information about the risk

    of NDMA formation to FDA, then FDA would not have approved OTC Zantac or would have
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    required OTC Zantac to be removed from the market. Federal law preempts such private efforts

    to enforce the FDCA and instead assigns exclusive authority to the federal government to enforce

    FDCA requirements, as this Court recognized in dismissing the failure-to-warn the FDA claims

    from this litigation, 21 U.S.C. § 337(a). See Order, Dkt. 3715, at 43–49 (relying on Buckman Co.

    v. Plaintiffs’ Legal Comm., 531 U.S. 341, 348–53 (2001), and Mink, 860 F.3d at 1327–30).

    Plaintiffs, moreover, have abandoned any other theories of liability.1 Id. at 29; see id. at 36

    (“Plaintiffs have abandoned any defense of OTC claims that are not premised upon a false or

    misleading label.”). Accordingly, this Court should dismiss with prejudice Counts 1 to 385 to the

    extent they relate to OTC Zantac.2

                                            BACKGROUND

           Zantac (ranitidine) is a medication that, for nearly four decades, was approved by the FDA

    and widely used in prescription and OTC form to treat stomach ulcers, gastroesophageal reflux

    disease, and other conditions of the stomach and esophagus. See, e.g., Economic Loss Class

    Compl. ¶ 318. FDA has exhaustively and repeatedly reviewed the safety and efficacy of Zantac

    throughout its lifecycle, and closely regulates the OTC Defendants’ sale of the product. Despite

    the lack of real-world evidence that Zantac use increases the risk of cancer, Plaintiffs commenced

    this litigation after a private laboratory’s test results allegedly detected the presence of excess

    NDMA in certain ranitidine products. Specifically, Plaintiffs claim that scientific studies have



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     Plaintiffs acknowledge that the operative complaint “is drafted and organized based on the
    Court’s recent Orders.” Economic Loss Class Compl., Introduction 4.
    2
      Defendants Boehringer Ingelheim Pharmaceuticals, Inc., GlaxoSmithKline LLC, Pfizer Inc.,
    Sanofi US Services Inc., Sanofi-Aventis U.S. LLC, Chattem, Inc., and Patheon Manufacturing
    Services LLC move only as to OTC products, not prescription Zantac, because of the nature of
    Plaintiffs’ judicial admissions about the narrow scope of their OTC-related claims. Therefore, this
    motion would resolve all claims in the Economic Loss Class Complaint as to all defendants named
    except for GlaxoSmithKline LLC.
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    demonstrated that ranitidine can transform into a cancer-causing molecule called N-

    nitrosodimethylamine (“NDMA”). Id. ¶¶ 235, 238, 248, 253, 255.

           A.      The Defendants’ Most Recent Motion to Dismiss on Express and Implied
                   Preemption and the Court’s Rulings

           In March 2021, the Brand Defendants moved to dismiss the then-operative master

    complaints on preemption grounds. Dkt. 3114. At the time, Plaintiffs had not made clear that, as

    to OTC products, they were presenting a narrow set of claims premised solely on the theory that

    the OTC Defendants had failed to disclose information to FDA and that FDA would not have

    approved OTC Zantac (or would have withdrawn approval) had the OTC Defendants done so.

    Thus, Defendants’ most recent motion to dismiss addressed Plaintiffs’ scattershot claims, which

    made no effort to state a non-preempted claim for refunds of the purchase price of OTC Zantac.

    Motion to Dismiss, Dkt. 3114, at 1 (“Plaintiffs have failed to [plead state-law misbranding claims],

    abandoning any pretense of a ‘misbranding’ claim or any other state-law claim that remotely

    ‘parallels’ federal law.”). When Plaintiffs filed their opposition brief and made concessions at the

    June 3 and 4, 2021 motions hearing, however, it became apparent that the predicate for every OTC

    claim pursued by Plaintiffs is the allegation that “ranitidine products should never have been

    approved for OTC status, and were therefore misbranded, because the FDA-approved label was

    false and misleading and caused harm when taken as directed due to the Defendants’ deception.”

    Order, Dkt. 3715, at 32. This Court subsequently and correctly held that Plaintiffs had waived or

    abandoned any other theories of liability, including container-related claims. See id. at 36.

           On June 30, 2021, this Court dismissed as expressly preempted all OTC-related claims

    except for claims in the Amended Consumer Economic Loss Class Complaint premised on the

    assertion that Zantac was “misbranded” as a matter of federal law because the OTC Defendants

    allegedly failed to disclose certain information to the FDA. Id. at 50. The Court found that
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    Plaintiffs’ refund claims could be considered parallel to the federal misbranding statute because

    they alleged that the labeling for Zantac was false and misleading by virtue of information that

    Defendants did not share with FDA. Id. at 31 (“Plaintiffs’ allegations . . . are that when the FDA

    approved ranitidine, it did not have full and accurate information about ranitidine because, at that

    time, the Defendants had withheld information about the dangers of ranitidine from the FDA”).

           In concluding that Plaintiffs’ claims paralleled the federal misbranding statute, the Court

    relied upon Plaintiffs’ characterization of their claims:

                   [T]he Plaintiffs have met the standard [to avoid express preemption]
                   as (i) they have alleged the Defendants withheld information about
                   ranitidine’s propensity to form NDMA from the FDA, (ii) they have
                   alleged that the FDA recently learned about ranitidine’s propensity
                   to form NDMA, and (iii) they have alleged that the FDA issued a
                   voluntary recall of ranitidine as a result of its receipt of that
                   information.

    Id. at 32. This Court thus held that the only remaining claims that survived express preemption

    were Plaintiffs’ claims that the OTC Defendants “withheld information about ranitidine’s

    propensity to form NDMA from the FDA” and, had FDA not been deceived by the OTC

    Defendants, FDA would never have permitted Zantac to be approved or sold. Id.

           In the same motion to dismiss, Defendants also moved to dismiss Plaintiffs’ failure-to-

    warn the FDA claims in each of the operative complaints on grounds of implied preemption. Dkt.

    3114. Plaintiffs opposed, arguing that their failure-to-warn-through-the-FDA claims were based

    on duties owed to consumers, not duties owed to the FDA, and that they were merely bringing

    traditional state-law claims. Order, Dkt. 3715, at 46. This Court rejected Plaintiffs’ contentions

    because they were foreclosed by binding precedent, including the Eleventh Circuit’s decision in

    Mink, 860 F.3d 1319, that demonstrated Plaintiffs’ failure-to-warn-through-the-FDA claims were




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    impliedly preempted. Order, Dkt. 3715, at 46–49. In particular, this Court explained that Mink

    controlled and required dismissal of the claims premised on failure to disclose information to FDA:

                   As in Mink, the Plaintiffs seek to hold the Defendants liable for
                   failing to provide product safety information to the FDA. As in
                   Mink, the Plaintiffs fault the Defendants for failing to provide
                   information that is required under federal regulations. As in Mink,
                   the Plaintiffs contend that they are enforcing state common-law
                   duties that the Defendants owe to them. And as in Mink, the
                   Plaintiffs allege that, had the Defendants provided the safety
                   information to the FDA, the FDA would have taken action that
                   would have prevented the Plaintiffs’ injuries.

                   The Eleventh Circuit ruled in Mink that claims such as the Plaintiffs’
                   claims are pre-empted because they are “very much” like the claims
                   that the Supreme Court held were pre-empted in Buckman.

    Order, Dkt. 3715, at 43 (quoting Mink, 860 F.3d at 1330). The Court thus held that implied

    preemption barred not only Plaintiffs claims that depend on mandatory federal reporting

    obligations, but also claims based “on failures to communicate with the FDA in ways additional

    to what the FDA requires.” Id. at 48. This Court reasoned that “such a state-law claim poses an

    obstacle to the FDA’s accomplishment of its objectives” by “deter[ring] drug manufacturers from

    applying for FDA approval of drugs with potentially beneficial uses out of fear of unpredictable

    civil liability under state law, and [also] incentiviz[ing] drug manufacturers who have gained

    market approval to submit to the FDA a ‘deluge’ of information that the FDA has not said that it

    wants or needs out of fear of liability under state law, burdening the FDA’s ability to evaluate drug

    safety post-approval.” Id. (citing Buckman, 531 U.S. at 350–51). The Court thus dismissed as

    impliedly preempted Plaintiffs’ claims for failure to warn consumers through the FDA. Id. at 49.




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           B.      The Current Economic Loss Class Complaint

           The Economic Loss Class Complaint includes two categories of defendants: the Brand

    Prescription Defendant (GSK) and the Brand OTC Defendants.3 Economic Loss Class Compl.,

    ¶¶ 2–23. Plaintiffs challenge OTC Zantac’s labeling as false and misleading and claim that the

    FDA never would have approved the label had it been apprised of information that the OTC

    Defendants withheld. Economic Loss Class Compl. ¶¶ 305–11; see also id. ¶¶ 355, 359–60, 382.

           Although styled as alleged violations of various state-law consumer protection and

    deceptive trade practices statutes, common law fraud, and warranty claims, at bottom, each count

    is merely a refund claim that seeks to impose state-law liability for the OTC Defendants’ alleged

    deceptive conduct toward the FDA. Order, Dkt. 3715, at 28–32. “The Plaintiffs contend that there

    is one fundamental premise underpinning all of their claims: the ranitidine label needed to warn

    about the risk of NDMA and cancer in order to avoid misleading consumers about the true nature

    of the product they were purchasing.” Id. at 28. Plaintiffs claim that “ranitidine products should

    never have been approved for OTC status, and were therefore misbranded, because the FDA-

    approved label was false and misleading and caused harm when taken as directed due to the

    Defendants’ deception.” Id. at 32. The deception alleged in the complaint is, by necessity, directed

    at the FDA because that agency repeatedly approved every word contained in each iteration of the

    OTC Zantac label.      21 U.S.C. § 355(d). Those agency actions entail a finding, based on



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      The 110 putative class Plaintiffs seek to represent state-wide classes of plaintiffs under the laws
    of various states. Relying on conclusory allegations in the Economic Loss Class Complaint,
    Plaintiffs seek to hold the OTC Defendants liable for purportedly failing to “disclose material facts
    on the labels for [their] Ranitidine-Containing Products, including that: such drugs were inherently
    defective, unreasonably dangerous, not fit to be used for their intended purpose, contained elevated
    levels of NDMA that rendered them unsafe and unfit for human consumption, and/or caused
    cancer.” See, e.g., Economic Loss Class Compl. ¶ 406. Plaintiffs seek refunds of the purchase
    price for OTC formulations of Zantac. Economic Loss Class Compl., Counts 1 to 385.
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    information submitted to FDA, that the label was not false or misleading. Id. § 355(d)(7)

    (providing that the FDA must “issue an order refusing to approve” a new drug application if “based

    on a fair evaluation of all material facts, such labeling is false or misleading in any particular”

    (emphasis added)).

           Indeed, Plaintiffs explicitly base their claims on the OTC Defendants’ alleged failure to

    submit truthful, complete information to the FDA as the “deception” that purportedly renders the

    label “false and misleading.” They claim that the OTC Defendants “failed to report [the following]

    risks to the FDA”: (1) “that ranitidine exposed users to unsafe levels of NDMA,” (2) “the

    ranitidine-NDMA link,” and (3) “significant new information affecting the safety or labeling of

    Ranitidine-Containing Products.” Economic Loss Class Compl. ¶¶ 305–09. Plaintiffs further

    claim that the Defendants failed to report this information to the FDA using various reporting

    mechanisms, including annual reports and unspecified “disclosures.” Id. ¶ 307 (citing 21 C.F.R.

    §314.81(b)(2)).

                         ARGUMENT AND CITATION OF AUTHORITY

           The OTC Defendants respectfully disagree with the Court’s express preemption ruling, but

    they do not seek to relitigate it here. That is because Plaintiffs’ repleaded claims are impliedly

    preempted: they are based entirely on the theory that the OTC Defendants deceived FDA and,

    because of that purported deception, FDA approved OTC Zantac labels and, ultimately, consumers

    were not warned. Under Buckman, Mink, and this Court’s June 30 Order, implied preemption bars

    Plaintiffs’ remaining refund claims against the OTC Defendants because all of the claims require

    an allegation that the OTC Defendants misled the FDA, a federal duty upon which private plaintiffs

    may not rely. See Order, Dkt. 3715, at 30–32.




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           Specifically, Plaintiffs allege that the OTC Defendants violated federal regulations by

    purportedly failing to include information about NDMA formation and risks in submissions to the

    FDA. Economic Loss Class Compl. ¶ 305 (alleging that defendants failed to report to the FDA

    that “ranitidine exposed users to unsafe levels of NDMA”). These claims seek to enforce federal

    regulations that require submission of risk information in connection with a New Drug Application

    (“NDA”), 21 C.F.R. § 314.50, to supplement that risk information to FDA after approval, id.

    § 314.80, § 314.81, and to change a product label under certain circumstances, id. § 314.70.

    Specifically, Plaintiffs claims that the OTC Defendants “engaged in a national, pervasive, and

    decades-long campaign to conceal the inherent dangers and risks associated with ranitidine use.”

    Id., Introduction 3. The refund claims are thus predicated on enforcement of federal requirements

    and the alleged failure to tell the FDA information about the risk of NDMA formation. Such claims

    are impliedly preempted and should be dismissed with prejudice. Buckman, 531 U.S. at 348–53.

           A.      Implied Preemption Bars Claims That Hinge on Allegations That Federally
                   Regulated Companies Misled the FDA

           In enacting the FDCA, Congress declined to create a private cause of action of the type

    Plaintiffs assert here, and moreover, affirmatively required that any action to enforce the FDCA

    “shall be by and in the name of the United States.” 21 U.S.C. § 337(a). The statute unequivocally

    mandates that the FDCA and its implementing regulations be “enforced exclusively by the Federal

    Government.” Buckman, 531 U.S. at 352. Through § 337(a), Congress impliedly preempted any

    private action seeking to enforce the FDCA and its implementing regulations. Therefore, any

    claim that relies on the FDCA or its regulations “‘[a]s a critical element’” is barred by § 337(a).

    Marsh v. Genentech, Inc., 693 F.3d 546, 553 (6th Cir. 2012) (quoting Buckman, 531 U.S. at 353).

    Plaintiffs’ claims predicated on the OTC Defendants’ purported failure to meet an obligation to



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    submit information to the FDA, before or after NDA approval, are impliedly preempted because

    these claims seek to enforce federal law.

           For example, FDA regulations require any manufacturer seeking approval by an NDA (the

    mechanism through which OTC Zantac was approved) to submit detailed information, such as a

    summary that “discuss[es] all aspects of the NDA,” the “proposed text of the labeling,” and “the

    potential clinical benefits of the drug product.” 21 C.F.R. § 314.50(c). The regulations also require

    disclosures regarding the medication’s chemistry, stability, manufacturing, containers, quality,

    purity, nonclinical pharmacology, toxicology, human pharmacokinetics and bioavailability,

    clinical data, the benefit and risk considerations related to the drug, proposed postmarketing studies

    or surveillance, and proposed expiration dating. Id. § 314.50(c)–(d). Federal regulations further

    require manufacturers to supplement the information provided to FDA in annual reports and other

    post-marketing reports. See, e.g., id. § 314.70, § 314.81. Plaintiffs’ allegations seek to enforce

    these federal regulations that require manufacturers to provide safety information to the FDA

    before and after approval. See Economic Loss Class Compl. ¶¶ 305–11.

           This Court’s June 30 Order explained why claims relying on failure-to-warn FDA theories

    are impliedly preempted under Buckman and Mink. Order, Dkt. 3715, at 39–43. In Buckman,

    patients who claimed that they were injured by a medical device brought state-law fraud claims

    against a company for misrepresentations that it allegedly made to the FDA in the course of

    assisting the device’s manufacturer in obtaining FDA approval to market the device. Buckman,

    531 U.S. at 343. The patients contended the defendant had represented to the FDA that the device

    would be marketed for use in bones in the arms and legs, and the FDA approved it on that basis,

    when in fact the device was intended for the spine. Id. at 346–47. The Supreme Court held the

    claims impliedly preempted for five reasons. First, FDA has the congressionally created and

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    exclusive power to punish companies that make misrepresentations to it. Id. at 348–49 & n.4.

    Second, giving the FDA the discretion and flexibility to employ its enforcement options was “a

    critical component of the statutory and regulatory framework under which the FDA pursues

    difficult (and often competing) objectives.” Id. at 349–50. Third, permitting state-law claims

    premised upon alleged misrepresentations to the FDA would “dramatically increase the burdens”

    that applicants for FDA approval face and could discourage and deter potential applicants from

    seeking FDA approval out of fear of exposure to unpredictable civil liability. Id. at 350–51.

    Fourth, permitting state-tort liability would result in the FDA being deluged with “information that

    [it] neither wants nor needs” out of fear that disclosures to the FDA may later be judged by a jury

    to be insufficient under state law. Id. at 351. Fifth, a state-law claim relating to fraud on the FDA

    existed “solely by virtue of the FDCA disclosure requirements” and did not rely on “traditional

    state tort law which had predated” the FDCA. Id. at 352–53.

           In Mink, the Eleventh Circuit applied the reasoning in Buckman to hold that federal law

    impliedly preempted a state-law negligence claim based on failure to report information about a

    medical device to the FDA. 860 F.3d at 1330. As this Court explained in its June 30 Order, the

    plaintiff’s “negligence claim was based in part on the manufacturer’s alleged failure to report

    known or knowable safety information about the device to the FDA, including through the

    submission of annual reports, adverse event reports, and device defect reports required under

    federal regulations.” Order, Dkt. 3715, at 41. The plaintiff argued that his state common-law

    claim was merely parallel to federal requirements, but the Eleventh Circuit flatly rejected that

    contention. Mink, 860 F.3d at 1330. Construing his claim as a negligent failure-to-warn claim,

    the court reasoned that the plaintiff’s “theory of liability [was] based on a duty to file a report with

    the FDA” and was “very much like the ‘fraud-on-the-FDA’ claim the Supreme Court held was

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    impliedly preempted in Buckman.” Id. The Eleventh Circuit recognized that the plaintiff’s claim

    was a failure-to-warn-through-the-FDA claim in disguise. See id. (“In both cases, a plaintiff

    alleged a manufacturer failed to tell the FDA those things required by federal law.”). Such claims

    are not within the traditional province of state law. See id.

           The Eleventh Circuit has repeatedly applied and reaffirmed Mink and found that implied

    preemption forecloses similar efforts by individuals to enforce FDA reporting requirements and

    other FDCA regulations. See, e.g., Markland v. Insys Therapeutics, Inc., 758 F. App’x 777 (11th

    Cir. 2018) (per curiam) (claim premised on violation of FDCA’s off-label marketing regulations

    preempted); Tsavaris v. Pfizer, Inc., 717 F. App’x 874, 877 (11th Cir. 2017) (per curiam) (federal

    law preempts plaintiff’s claim that drug manufacturer “was negligent for failing to fulfill its duty

    to report findings about its product to the [FDA]” and thereby “seeks to enforce a duty owed to a

    federal agency” without which “her cause of action would not exist”).4

           That a claim might be styled as a state-law tort claim is immaterial because, in substance,

    the allegations amount to an effort to enforce purported requirements of federal law and improperly

    interferes with the relationship between FDA and the regulated manufacturers. See Mink, 860 F.3d

    at 1329; Markland, 758 F. App’x at 779–80 (holding plaintiff’s claim “styled as a ‘negligent

    marketing’ claim” was impliedly preempted where “the substance of [plaintiff’s] complaint” was

    that the manufacturer “violated federal law” that prohibited off-label marketing).           Judge

    Middlebrooks carefully evaluated this issue in In re Trasylol Products Liability Litigation, 763 F.

    Supp. 2d 1312 (S.D. Fla. 2010), and concluded that preemption applies not only where plaintiffs

    assert a “separate fraud-on-the-FDA claim but also where a plaintiff seeks to prove fraud on the



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      District courts within the Eleventh Circuit have similarly applied Mink’s reasoning to find
    analogous claims barred by preemption. See Order, Dkt. 3715, at 42–43 (collecting cases).
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    FDA in order to bring a traditional state-law torts suit.” Id. at 1325. Judge Middlebrooks further

    observed, “[i]f the Court were to find fraud-on-the-FDA when the FDA itself has not made such a

    finding, the Court would be intruding upon the FDA’s right to police itself and second-guessing

    what the FDA would have done had it received the information that was allegedly withheld from

    it by the defendant-company.” Id. at 1325.5 Thus, implied preemption does not depend on whether

    the state law recognizes a duty to warn through the FDA; rather, federal preemption prohibits states

    from enforcing federal requirements under the common law or state statutory claims, especially

    where the claim hinges on alleged deception of the FDA. Buckman, 531 U.S. at 348–53.

           B.      In an Attempt to Avoid Express Preemption of Their OTC Claims, Plaintiffs
                   Have Pled State-Law Claims That Are Barred by Implied Preemption

           This Court decided that claims based on deceiving the FDA survived express preemption,

    but it did not consider whether implied preemption barred these remaining claims in the Economic

    Loss Complaint. Just as in Mink and Buckman, Plaintiffs impermissibly seek to hold the OTC

    Defendants liable for failing to provide federally required product-safety information to the FDA.

    See Order, Dkt. 3715, at 28–32. Plaintiffs make numerous allegations regarding Defendants’

    alleged failures to make fulsome and timely disclosures to FDA. Economic Loss Class Compl.




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      See also Leonard v. Medtronic, Inc., No. 10-CV-03787, 2011 WL 3652311, at *7 (N.D. Ga. Aug.
    19, 2011) (“[A] private litigant cannot bring a state-law claim against a defendant when the state-
    law claim is in substance (even if not in form) a claim for violating the FDCA.” (quoting Riley v.
    Cordis Corp., 625 F. Supp. 2d 769, 777 (D. Minn. 2009)); accord, e.g., Caplinger v. Medtronic,
    Inc., 784 F.3d 1335, 1339 (10th Cir. 2015) (“[Section] 337(a) preempts any state tort claim that
    exists ‘solely by virtue’ of an FDCA violation[.]”); Hafer v. Medtronic, Inc., 99 F. Supp. 3d 844,
    856 (W.D. Tenn. 2015) (“A plaintiff cannot bring a state-law claim that is in substance a claim to
    enforce the FDCA.”). In other words, “[p]laintiffs cannot make an end run around [§ 337(a)] by
    recasting violations of the FDCA as violations of state common law.” In re Medtronic, Inc. Sprint
    Fidelis Leads Prod. Liab. Litig., 592 F. Supp. 2d 1147, 1161 (D. Minn. 2009).
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    ¶¶ 305–11 (“Defendants failed to report these risks to the FDA.”). Plaintiffs cite annual reporting

    obligations, id. ¶ 307 (citing 21 C.F.R. §314.81(b)(2)), and FDA’s reliance on manufacturers “to

    bring new information about an approved drug like ranitidine to the agency’s attention,” id. ¶ 306.

    Plaintiffs go further to claim that “the FDA was never able to reject any proposed warning or

    proposal for storage/transport [of Ranitidine-Containing Products].” Id. ¶ 311. These allegations

    undergird each of Plaintiffs’ various causes of action, including state consumer protection statutes,

    common-law unjust enrichment, common-law breach of quasi-contract, and breach of implied

    warranty. See, e.g., Economic Loss Class Compl. ¶ 406 (claiming, under Arizona Consumer Fraud

    Act, defendant “conceal[ed] and fail[ed] to disclose material facts on the labels for its Ranitidine-

    Containing Products”); id. ¶ 422 (alleging “Defendant did not disclose [Ranitidine-Containing

    Products] contained elevated levels of NDMA that rendered them unsafe and unfit for human

    consumption” to support Arizona unjust enrichment theory); id. ¶ 448 (same allegation supporting

    Alaska quasi-contract claim); id. ¶ 476 (“Each Ranitidine-Containing Product sold by Defendant

    comes with an implied warranty . . . , including impliedly warrantying on the labels for its

    Ranitidine-Containing Products that the products were safe and/or did not cause cancer or cause

    an unreasonable risk of cancer if used within the expiration dates on its labels.”) (Arkansas implied

    warranty claim).

           Plaintiffs’ claims fail for the same reason as those at issue in Mink and Buckman. See Mink,

    860 F.3d at 1330. At bottom, Plaintiffs’ claims are grounded in the allegation that the OTC

    Defendants failed to submit information to the FDA—an allegation that the Supreme Court, the

    Eleventh Circuit, and this Court have rejected as impliedly preempted. See Buckman, 531 U.S. at

    350. Just as in Buckman, Plaintiffs here are trying to get past the motion-to-dismiss stage based

    on an identical theory about deceptive submissions to the FDA. See, e.g., Economic Loss Class

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    Compl. ¶¶ 305–09 (“Defendants concealed the ranitidine-NDMA link from ordinary consumers in

    part by not reporting it to the FDA, which relies on drug manufacturers (or others, such as those

    who submit citizen petitions) to bring new information about an approved drug like ranitidine to

    the agency’s attention.”). But, as this Court aptly explained, the “Eleventh Circuit declined to

    draw a distinction between claims for telling the FDA something that was wrong (the fraud claims

    in Buckman) and claims for not telling the FDA something (the failure-to-warn claim in Mink).”

    Order, Dkt. 3715, at 43–44.

           Plaintiffs’ claims cannot piggyback on duties owed to the FDA by attempting to invoke the

    agency’s gatekeeping role between the manufacturer and the public. A manufacturer’s obligation

    to be truthful to the FDA only exists by virtue of federal regulations that private plaintiffs have no

    right to enforce. See Tinkler v. Mentor Worldwide, LLC, No. 19-CV-23372, 2019 WL 7291239,

    at *5 (S.D. Fla. Dec. 30, 2019). To the extent Plaintiffs attempt to argue that their claims are

    premised on a duty owed directly to them (thus, side-stepping the FDA), the Eleventh Circuit in

    Mink found that to be a hollow distinction. Order, Dkt. 3715, at 46 (citing Mink, 0:15-cv-61210-

    BB, DE 29 at 12–13); see also Mink, 860 F.3d at 1330. Rather, these claims hinge entirely upon

    alleged deficiencies in information submitted to FDA.

           Another flaw in Plaintiffs’ theory is its dependence on an improper and speculative

    inference that, had the OTC Defendants disclosed additional information to FDA, OTC Zantac

    would not have received FDA approval as both safe and effective. See, e.g., Economic Loss Class

    Compl. ¶¶ 305–09, 355, 382. This is a variant of the “stop-selling” rationale that the Supreme




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    Court has rejected. Mut. Pharm. Co. v. Bartlett, 570 U.S. 472, 488 (2013). Just as a defendant

    need not “stop selling” an FDA-approved product to avoid state-tort liability, defendants should

    not have to refrain from starting to sell a medication authorized by federal law and approved by

    FDA as safe and effective, merely in an effort to avoid state-law liability. See id. Plaintiffs’ theory

    of liability also would intrude directly into discretionary recall decisions committed to the FDA

    exclusively, not private litigants. See PLIVA, Inc. v. Mensing, 564 U.S. 604, 623 (2011) (“To

    consider in our pre-emption analysis the contingencies inherent in these cases—in which the

    Manufacturers’ ability to comply with state law depended on uncertain federal agency and third-

    party decisions—would be inconsistent with the . . . the Supremacy Clause.”).

           In fact, the very essence of the Plaintiffs’ Economic Loss Class Complaint is that if the

    FDA had been warned of the purported risk of NDMA formation, the agency would not have

    approved OTC Zantac, would have required that it stopped being sold, or would have required a

    change to the FDA-approved label. Economic Loss Class Compl. ¶¶ 305–09 (claiming that the

    OTC Defendants misled and deceived the FDA); id. ¶¶ 355, 382 (alleging that expiration dates on

    Zantac reflected that the OTC Defendants had misled the FDA because “FDA expressly recognizes

    that an initial expiration date may not be the final expiration date”) (citing 1 C.F.R. § 211.166(b));

    id. ¶ 395 (“Because they failed to include appropriate expiration dates on their products,

    Defendants made false statements in the labeling of their products.”); id. ¶ 397 (“Because they

    failed to package their products in appropriate container sizes, [the OTC Defendants] made false

    statements in the packaging of their products.”).

           In addition to the similarity of the claims here to the claims in Buckman and Mink, the

    FDA’s interest in exercising its own authority was critical to the holding in each case. The FDA

    is empowered before and after approving an NDA to detect, deter, and punish a drug

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    manufacturer’s failure to comply with federally imposed reporting requirements. See Buckman,

    531 U.S. at 348–49. This regulatory framework—not state-court tort actions—is what permits the

    FDA to “use its discretion and judgment to determine how to respond to a reporting violation,

    taking into consideration such factors as the magnitude of the violation, the safety and

    effectiveness of the drug at issue, and the consequences of removing the drug from the market.”

    Order, Dkt. 3715, at 44–45 (citing 21 C.F.R. § 314.80(k), § 314.81(d)); see also 21 C.F.R.

    § 314.50. As the Court held in Buckman, allowing Plaintiffs’ claims to proceed would undermine

    this carefully crafted federal framework. 531 U.S. at 350–51.

           In short, Plaintiffs’ remaining claims against the OTC Defendants—those that the Court

    has not already found barred by express preemption—“exist solely by virtue of [federal law]” and

    are therefore impliedly preempted. Buckman, 531 U.S. at 353.

                                           CONCLUSION

           For the foregoing reasons, the OTC Defendants respectfully request that the Court dismiss

    with prejudice as impliedly preempted all Counts in the Economic Loss Class Complaint against

    the OTC Defendants.




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    Dated: August 23, 2021                  Respectfully submitted,

                                     By:    /s/ Anand Agneshwar
                                            Anand Agneshwar
                                            ARNOLD & PORTER
                                            KAYE SCHOLER LLP
                                            250 West 55th Street
                                            New York, NY 10019
                                            Tel: (212) 836-8000
                                            Fax: (212) 836-8689
                                            anand.agneshwar@arnoldporter.com

                                            Daniel S. Pariser
                                            Paige H. Sharpe
                                            601 Massachusetts Avenue, NW
                                            Washington, DC 20001
                                            Tel: (202) 942-5000
                                            Fax: (202) 942-5999
                                            daniel.pariser@arnoldporter.com
                                            paige.sharpe@arnoldporter.com

                                            Loren Brown
                                            DLA PIPER LLP (US)
                                            1251 Avenue of the Americas, 27th Floor
                                            New York, NY 10020
                                            Tel: (212) 335-4500
                                            Fax: (212) 884-8543
                                            loren.brown@dlapiper.com

                                            Ilana H. Eisenstein
                                            Rachel A.H. Horton
                                            1650 Market Street, Suite 5000
                                            Philadelphia, PA 19103
                                            Tel: (215) 656-3300
                                            ilana.eisenstein@dlapiper.com
                                            rachel.horton@dlapiper.com

                                            Matthew A. Holian
                                            33 Arch Street, 26th Floor
                                            Boston, MA 02110-1447
                                            Tel: (617) 406-6009
                                            Fax: (617) 406-6109
                                            matt.holian@dlapiper.com

                                            Attorneys for Defendants Sanofi US Services
                                            Inc., Sanofi-Aventis U.S. LLC, and Chattem, Inc.
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Case 9:20-md-02924-RLR Document 4107 Entered on FLSD Docket 08/23/2021 Page 22 of 24




                                          /s/ Andrew T. Bayman
                                          Andrew T. Bayman
                                          KING & SPALDING LLP
                                          1180 Peachtree Street, NE, Suite 1600
                                          Atlanta, Georgia 30309
                                          Tel: (404) 572-3583
                                          Fax: (404) 572-5100
                                          abayman@kslaw.com

                                          Attorney for Defendant Boehringer Ingelheim
                                          Pharmaceuticals, Inc.

                                          /s/ Mark Cheffo
                                          Mark Cheffo
                                          Judy Leone
                                          Will Sachse
                                          Lindsey Cohan
                                          DECHERT LLP
                                          Three Bryant Park
                                          1095 Avenue of the Americas
                                          New York, NY 10019
                                          Tel: (212) 689-3500
                                          Fax: (212) 689-3590
                                          mark.cheffo@dechert.com
                                          judy.leone@dechert.com
                                          will.sachse@dechert.com
                                          lindsey.cohan@dechert.com

                                          Attorneys for GlaxoSmithKline LLC

                                          /s/ Joseph G. Petrosinelli
                                          Joseph G. Petrosinelli
                                          M. Elaine Horn
                                          Jessica B. Rydstrom
                                          WILLIAMS & CONNOLLY LLP
                                          725 12th Street NW
                                          Washington, DC 20005
                                          Tel: (202)-434-5000
                                          Fax: (202)-434-5029
                                          jpetrosinelli@wc.com
                                          ehorn@wc.com
                                          jrydstrom@wc.com

                                          Attorneys for Defendant Pfizer Inc.

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                                          /s/ Christopher R. Carton
                                          Christopher R. Carton, Esq.
                                          Erica S. Mekles, Esq.
                                          BOWMAN AND BROOKE LLP
                                          317 George Street, Suite 320
                                          New Brunswick, NJ 08901
                                          Tel: (201) 577-5176
                                          christopher.carton@bowmanandbrooke.com
                                          erica.mekles@bowmanandbrooke.com

                                          Attorneys for Defendant Patheon
                                          Manufacturing Services LLC




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 23rd day of August, 2021, the foregoing Brand OTC

    Defendants’ Rule 12 Partial Motion To Dismiss Plaintiffs’ Second Amended Economic Loss Class

    Complaint As Preempted By Federal Law And Incorporated Memorandum Of Law was filed

    electronically through the Court’s CM/ECF system, which will send notice of filing to all CM/ECF

    participants.


                                                       /s/ Anand Agneshwar
                                                       Anand Agneshwar
